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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
  Form 32. Response to Notice of Case Being Considered for Oral Argument
      Instructions for this form: http://www.ca9.uscourts.gov/forms/form32instructions.pdf

9th Cir. Case Number(s) 24-2537

Case Name D'Souza, et al. v. Guerrero

Hearing Location (city) Pasadena

Your Name Matthew L. Green
List the sitting dates for the two sitting months you were asked to review:


Feb. 3-7, 2025; Feb. 10-14, 2025; March 3-7, 2025; March 24-28, 2025


Do you have an unresolvable conflict on any of the above dates? ZI Yes                                 No

If yes, list the specific day(s) and the specific reason(s) you are unavailable:



March 6-7, 2025, due to a family vacation, and I am the only attorney at my firm
handling this matter and do not have someone to take my place at oral argument.



 Do you have any other cases pending in this court for which you received a notice
 of consideration for oral argument during the three sitting months listed above?
     Yes X No

 If yes, list the number, name, and hearing city of each of the other case(s):




Signature /s/ Matthew L. Green                                         Date September 27, 2024
(use “s/[typed name]” to sign electronically-filed documents)

                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov
Form 32                                                                                        Rev. 12/01/2018
